Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5913 Page 1 of 12



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   16
                             UNITED STATES DISTRICT COURT
   17                      SOUTHERN DISTRICT OF CALIFORNIA
   18

   19   Ms. L. et al.,                                   Case No. 18-cv-00428-DMS-
   20                                                    MDD
                         Petitioners-Plaintiffs,
   21          v.                                        Date Filed: April 15, 2019
   22                                                    PLAINTIFFS’ RESPONSE TO
        U.S. Immigration and Customs Enforcement
                                                         DEFENDANTS’ PROPOSED
   23   (“ICE”); et al.,
                                                         PLAN REGARDING
   24                                                    IDENTIFICATION OF
                         Respondents-Defendants.
   25                                                    EXPANDED MS. L. CLASS
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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5914 Page 2 of 12



    1                                    INTRODUCTION
    2         The government has proposed a plan that will take at least one year — and

    3   possibly up to two full years — to identify separated parents whose children were

    4   released prior to June 26, 2018. Dkt. 394-1 at 2. That incredible request shows a

    5   callous disregard for these families and should be rejected. These children were

    6   separated at least 10 months ago, before June 26, 2018. For some of these children,

    7   that may be nearly a lifetime.

    8         Specifically, the government proposes a plan that would (1) allow an initial

    9   three months just to build a statistical model to prioritize the order in which the

   10   government will review files, and then (2) give the government another 21 months
   11   to review the files. Everything about the plan is flawed.
   12         First, a list of separated children already very likely exists for children who
   13   were separated from their parents and released from ORR custody between April
   14   and June 26, 2018. This is because the government began assigning Family Unit

   15   numbers in April of 2018, enabling CBP to track families that were separated. By

   16   cross-referencing CBP’s list of separated children with ORR’s list of children
   17   released from ORR custody, the government could immediately identify the
   18   separated children it released to sponsors between April and June 2018, assuming
   19   that list does not already exist. That would immediately reduce the number of cases
   20   the government has to review. It is a serious breach if that list does in fact exist (or

   21   could have been immediately generated) and has not been mentioned by the

   22   government.

   23         Second, even if the government must review all the cases for the full period

   24   at issue here (July 2017 – June 26, 2018), the government should be able to perform

   25   this task in three months or less based on its past practice during the initial

   26   reunification period last summer. Yet the government wants three months just to
   27   create a statistical model before even beginning to review any files.            If the
   28   government wants to prioritize how it reviews files, that of course is fine. But its

                                               1                                      18cv0428
Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5915 Page 3 of 12



    1   time estimates are wholly insufficient given that the entire review of every file can
    2   be done within 3 months.
    3          Moreover, and critically, the government’s plan will not only take far too
    4   long, but it also will not be effective. That is because the government is not
    5   proposing to review the paper files kept by case managers at the individual ORR
    6   facilities where the children were held. Rather, the government is proposing to look
    7   only at a computer portal maintained by ORR. Dkt. 394-2 at ¶ 9. But those portals
    8   contain only a portion of the case managers’ paper files and frequently will contain
    9   no information about whether or not the child was separated.
   10         The government should therefore issue an immediate directive to case
   11   managers at ORR facilities around the country to review their paper files for
   12   separations, like the government did in the days immediately following the issuance
   13   of the preliminary injunction. The files are generally very thin and Plaintiffs’
   14   experts conservatively estimate, based on their own review of files, that each should
   15   take on average no more than 30 minutes. Moreover, the case managers will be
   16   familiar with where they recorded information about separated parents in their own
   17   files, so can likely do their review in less than 30 minutes. Notably, this is similar
   18   to what the government did when the court ordered the government to reunite the
   19   initial group of children (the approximately 2,500 in ORR custody on June 26);
   20   ORR’s case managers conducted a file review for more than 11,000 children within
   21   a week.
   22         Third, the government is proceeding as if HHS is solely responsible for
   23   undertaking the task of identifying families. But ICE and CBP also have records of
   24   separations, and DHS was of course the agency that separated the children. In
   25   particular, the I-213 Form that DHS agents fill out to document apprehensions may
   26   often contain a notation that the child was separated. Consequently, if the ORR
   27   files do not indicate whether the child was separated, the government should be
   28   required to immediately check the I-213 Form – along with any other information
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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5916 Page 4 of 12



    1   in DHS’s possession. This information includes an “Event ID number,” which is
    2   issued to every person arrested by CBP and shows who they were arrested with.
    3   Because children arrested with their parents will share the same Event ID number,
    4   the government can find additional separations by looking for children who were
    5   arrested with an adult who shares a last name. These numbers thus provide a
    6   critical backstop if the case manager file and I-213 Form are not conclusive.
    7           In sum, the government’s unnecessarily long timeframe will only compound
    8   the harm the government has already inflicted on separated families. Ultimately,
    9   the government is simply refusing to prioritize the welfare of these children and
   10   families. The government initially argued that it should not even have to identify
   11   these families. Now it has submitted a plan that shows little regard for them and
   12   certainly not the urgency warranted where the lives of young children are at stake.
   13   The process of identifying the victims of the government’s separation policy is the
   14   first step to ensuring that no child is permanently orphaned.
   15                                 DISCUSSION
   16   A.      The Government Must Produce Any Existing Lists of Separated
                Families Who Are Members of the Expanded Class.
   17
                Plaintiffs believe that government agencies outside of HHS likely have
   18
        already compiled lists of all, or nearly all, separations from April 2018 to June 26,
   19
        2018.    That is because, according to a GAO report, the government in April
   20
        instituted a more formal family identification system that allowed them to generate
   21
        lists of parents and children who were separated.               See GAO Report,
   22
        Unaccompanied Children: Agency Efforts to Reunify Children Separated from
   23
        Parents at the Border (October 2018) [hereinafter “GAO Report”] at 17, available at
   24
        https://www.gao.gov/assets/700/694918.pdf (“According to Border Patrol officials,
   25
        Border Patrol modified its system on April 19, 2018, to include yes/no check boxes
   26
        to allow agents to indicate that a child was separated from their parent(s).”). See
   27
        also Brané Dec. ¶3. When this court ordered the government to reunify the original
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        class of children, the government created a list that it provided to Plaintiffs of
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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5917 Page 5 of 12



    1   separated children still in ORR custody on June 26. But it is likely that a list was
    2   also generated for all family units separated since the government started assigning
    3   identification numbers to separated families in April 2018. That list would include
    4   children who were released from ORR between April and June.
    5         Accordingly, the Court should order all three relevant agencies – ORR, CBP
    6   and ICE – to provide an account of any lists of separated children, or provide
    7   declarations from high-level agency officials testifying that such lists do not exist
    8   for any subset of the expanded class definition. And if such lists do exist (or could
    9   have been generated in a matter of hours or days), the declarations should also
   10   explain why they were not mentioned in the government’s proposal.
   11         Even a limited list of families separated between April and June 26 would go
   12   a long way towards identifying at least a portion of the expanded class.
   13   B.    The Government Should Start Reviewing Paper Case Files Immediately
              Instead of Waiting Three Months to Perform a Statistical Analysis.
   14
        1.    Even taken on its own terms, the government’s extended timeline is
   15
        unreasonable. The government initially proposes that manual review begin only
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        after a three-month statistical analysis. But this delay is too long, and in any case
   17
        unnecessary. The government says that after three months of development it would
   18
        “try to apply [its data model] it to the available data for. . . approximately 47,000
   19
        children,” and that “[i]t is possible that it could [] reduce the overall time required
   20
        for manual review.” Graubard Dec. (Dkt. 394-3) ¶¶ 13, 15 (emphasis added). But
   21
        the government does not deny that it needs to review all children’s files regardless
   22
        of the results of the statistical analysis. Nor can it, because even a low error rate in
   23
        the government’s statistical model could lead to hundreds, if not thousands, of
   24
        missed separations.
   25
              In other words, the government appears to acknowledge that all children’s
   26
        files must be reviewed anyway because their proposed data models will necessarily
   27
        be imperfect. Waiting three months to prepare a data model is therefore needless.
   28
        That is especially so since all the files can be reviewed manually within three
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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5918 Page 6 of 12



    1   months, as described further below. If the government is going to try to prioritize
    2   how it manually reviews cases, then it must do so quickly and in a way that does
    3   not lengthen the three-month period for completing review of all the files.1
    4   2.    As importantly, the government’s plan for reviewing cases by looking solely
    5   at ORR’s UAC portal will not come close to identifying all the separated families.2
    6   The portal contains only the subset of information that case managers chose to
    7   upload from their paper files. Between July of 2017 and April 2018, there was no
    8   field on the portal to record separations. Any information in the portal about
    9   separations would have therefore been included only if the case manager happened
   10   to upload it, which did not happen on a regular basis.
   11         The paper case files developed by ORR case managers are therefore far more
   12   likely to include notations of separation, but not all of these documents are
   13

   14   1
                Moreover, to prioritize, the government need not spend the time creating a
   15   statistical model that it acknowledges will be imperfect. The government can
        quickly prioritize by simply looking at the age of the child. For instance, most
   16   children under 10 do not come by themselves, making it more likely that they were
   17   separated from a parent or legal guardian. Additionally, the government could
        prioritize records of children transferred to ORR from the El Paso area, where the
   18   government implemented a family-separation pilot project before the zero tolerance
   19   policy began, and where the bulk of the known early separations occurred
        beginning in the Fall of 2017.
   20   2
               Although Plaintiffs do not believe the portal should be used, the
   21   government’s estimates for the time it will take to review portal files is
   22   unreasonable. The government states that each child’s UAC portal contains about
        10-20 documents, and that it would take at least 5 to 15 minutes to download each
   23   document. Sualog Dec. (Dkt. 351-1) ¶ 18. The government apparently envisions
   24   that each analyst who is reviewing the files will first download the files and then
        review them. Based on this estimate, the government estimates that each analyst
   25   will review only one or two files per work day. At this pace, 100 analysts would
   26   need one to two years to review 46,000 files, at a pace of a maximum of two files a
        day. Sualog Dec. ¶ 18; 4/5/19 White Dec. (Dkt. 394-2) ¶ 21. But there is
   27   absolutely no reason for the process to move at such a glacial pace, even if portals
   28   were going to be used. For example, the government can allocate resources up
        front to have employees download and copy documents for analysts to then review.
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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5919 Page 7 of 12



    1   accessible through the ORR portal system, and in fact they frequently will not be.
    2   Consequently, it is thus imperative that the government perform a manual review of
    3   ORR paper files compiled by case managers at the various facilities around the
    4   country.
    5         This review of the paper files in the various ORR facilities can be done
    6   within three months, and certainly need not take one to two years. Plaintiffs’
    7   experts have reviewed ORR files (produced by the government in response to
    8   records requests). Turner Dec. ¶ 3. A conservative estimate is that it takes 30
    9   minutes, at most, to review an ORR file to identify indicia of separation; in many
   10   cases, it takes as little as ten minutes. Id. ¶ 5. But even assuming it will take a full
   11   30 minutes per file, 100 case managers could review all 47,000 files within 29 work
   12   days, or six work weeks. And case managers at the ORR facilities, given their
   13   greater familiarity with their own notations, organizational methods, and the
   14   children formerly in their care, will likely be able to perform this task even faster.
   15         Significantly, when the government put together the original list of separated
   16   families last summer, it used the case managers at ORR’s facilities to conduct a
   17   similar review.    As Commander White stated in a previous declaration about
   18   compiling the original class list last summer:
   19       To ensure that every separated child in ORR custody who belongs to a
            class member is identified and reunified, HHS has had each grantee at
   20       one of ORR’s approximately 110 shelters certify the separated children
   21       who the grantee reasonably believes are in its care. HHS has also
            conducted a full manual review of the case management file for each
   22       one of the approximate 11,800 children in ORR custody—the
   23       substantial majority of whom were not separated from a putative parent
            at the border—to confirm or rule out any indicia of separation. The
   24       manual review was conducted by dozens of HHS personnel working
   25       nights and over the weekend. The results of both the manual review
            and the grantee certifications are undergoing validation.
   26
        Dkt. 86-1 (July 5, 2018 White Dec.) ¶ 18. Commander White gave this
   27
        testimony on July 5, 2018, a mere ten days after the preliminary injunction
   28

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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5920 Page 8 of 12



    1   issued. So apparently ORR performed this review of nearly 12,000 files
    2   within approximately ten days.
    3   C.    The Government Should Also Review ICE/CBP Files.
    4         In addition to reviewing ORR case manager files, the government should
    5   simultaneously review CBP and ICE files, or at an absolute minimum, review them
    6   whenever the ORR file is not determinative.
    7         For   instance,   DHS      files   will   contain   Form   I-213,   “Record   of
    8   Deportable/Inadmissible Alien,” which is completed upon apprehension and may
    9   often include a notation from the agent about separation. Unlike many other DHS
   10   forms, it contains a narrative section where the officer and agents processing
   11   parents and children can record information that is not otherwise captured in data-
   12   entry fields. Although the I-213 may occasionally be sent to ORR and end up in
   13   the case manager’s file, that will not always be true. See GAO Report at 19, n. 49
   14   (“CBP officials reported that prior to May 5, 2018, the Form I-213 was provided to
   15   ORR on a case-by-case basis and CBP did not require agents to include this form in
   16   its transfer packet.”). A review of the Form I-213—which can be electronically
   17   pulled up from DHS’s computer systems based on the alien identification number
   18   attached to each child who was transferred to ORR—is thus a critical backstop.
   19         The government also should use the Event ID number assigned by DHS for
   20   each incident because, prior to April 2018, CBP did not always note a separation on
   21   the I-213. But when CBP arrests a group, every individual arrested during that
   22   incident receives the same Event ID number. Brané Dec. ¶4. Consequently, by
   23   using the child’s Event ID number, the government can determine if any adult was
   24   arrested at the same time with a same name, thus indicating they are a potential
   25   class member.3
   26   3
              The government has previously used similar methods. Immediately after the
   27   June 26, 2018 injunction, a “data team (with the support of ORR, other HHS
   28   operating and staff divisions, and DHS sub-agencies) mined more than 60 DHS and
        HHS databases to identify indicators of possible separation, such as an adult and
                                                 7                                   18cv0428
Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5921 Page 9 of 12



    1         In sum, review of the ORR case manager paper files will hopefully be
    2   sufficient, but DHS should not be allowed to skirt responsibility for remedying the
    3   problem it created by unconstitutionally separating families and then not keeping
    4   accurate, accessible records. DHS records must be utilized in conjunction with the
    5   ORR file review.
    6                                    CONCLUSION
    7         The Court should order the government to complete the identification process
    8   within three months and provide the information on a rolling basis. And if a list
    9   exists for separated children who were released from ORR custody between April
   10   and June 2018 (or can be generated in hours or days), that list should be provided
   11   within 7 days.
   12         Specifically: Plaintiffs respectfully ask the Court to order that the
   13   government:
   14
           - Instruct case managers immediately to begin reviewing the ORR files in their
   15        possession;
   16
           - Assign DHS to review I-213s and Event ID numbers in the event that review
   17        of ORR files is inconclusive;
   18
           - Immediately produce any lists of children who were separated and released
   19        between April and June 2018, and if such lists exist, to explain in a
   20        declaration why they were not previously mentioned; and
   21      - Complete the identification process within three months and provide the
   22        information on a rolling basis.
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   28   child with the same last name apprehended on the same day at the same location.”
        GAO Report at 7.
                                            8                                     18cv0428
Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5922 Page 10 of 12



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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5923 Page 11 of 12



    1                           CERTIFICATE OF SERVICE
    2
              I hereby certify that on April 15, 2019, I electronically filed the foregoing
    3
        with the Clerk for the United States District Court for the Southern District of
    4
        California by using the appellate CM/ECF system. A true and correct copy of this
    5
        brief has been served via the Court’s CM/ECF system on all counsel of record.
    6
                                                    /s/ Lee Gelernt
    7                                               Lee Gelernt, Esq.
    8                                               Dated: April 15, 2019
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Case 3:18-cv-00428-DMS-MDD Document 397 Filed 04/15/19 PageID.5924 Page 12 of 12



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